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UNITED STATES DISTRICT COURT
forthe
District of Colorado
Civil Action No. 21-cv-1382-NYW

ANDREW SCHOBER

O01) fy (WU! Nh

Plaintiff

BENEDICT THOMPSON
OLIVER READ
EDWARD J THOMPSON
CLAIRE L THOMPSON
PAUL READ
HAZEL DAVINA WELLS
Defendants

 

PROOF OF SERVICE
BENEDICT THOMPSON, EDWARD J THOMPSON, CLAIRE L THOMPSON

| Melvyn UTLEY of Barrington International Limited, 2 Woodberry Grove, London Naz oDR, United

Kingdom, process server engaged for the purpose hereof by Anderson Kill P.C. of 1717 Pennsylvania

Avenue NW, Suite 200, Washington, DC 20006, Plaintiff's attorney, SAY AS FOLLOWS: -

i.

| personally served the summons on the individual BENEDICT THOMPSON at 5 Northlands
Gardens, Southampton, Hampshire, S015 2NL United Kingdom on Thursday June 10", 2021.
| personally served the summons on the individual EDWARD J THOMPSON at 5 Northlands

Gardens, Southampton, Hampshire, SO15 2NL United Kingdom on Thursday June 10°"

, 2021,

| served the summons on the individual CLAIRE L THOMPSON on Thursday June 10°", 2021 by
leaving the summons at the individual's residence at 5 Northlands Gardens, Southampton,
Hampshire, S015 2NL United Kingdom with Edward L Thompson a person of suitable age and
discretion who resides there.

| declare under penalty of perjury that this information is true.

Date: June 11°", 2021

Server's signature ly \ sees

 

Melvyn UTLEY, process server

of Barrington International Limited, 2 Woodberry Grove, London N12 oDR United Kingdom
